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                                             July 16, 2019


VIA FEDEX & CM/ECF

The Honorable Edgardo Ramos
United States District Judge
Thurgood Marshall U.S. Courthouse
40 Foley Square
Courtroom 619
New York, NY 10007

       Re:    Ithaca Capital Investments I, S.A., et al., v. Trump Panama Hotel Management
              LLC, et ano., Case No. 1:18-cv-00390-ER – Request for Oral Argument on
              Plaintiffs’ Motions for Leave to File Amended Complaint and to Dismiss
              Certain Counterclaims

Dear Judge Ramos:

       We are counsel to defendants Trump International Hotels Management LLC and Trump
Panama Hotel Management LLC. We write pursuant to Your Honor’s Individual Rules of Practice
to request oral argument on plaintiffs’ Motion for Leave to File Amended Complaint (ECF No.
75) and Motion for Leave to Dismiss Certain Counterclaims (ECF No. 72).

                                             Respectfully submitted,

                                             /s/ Marion R. Harris

                                             Marion R. Harris
                                             Counsel for Defendants



cc:    Counsel of record (via CM/ECF)
